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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-248
ALEXANDER SHEPPARD, : _ VIOLATIONS:
: 180U.8.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(A)

(Entering and Remaining on the Floor of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere,
ALEXANDER SHEPPARD attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, by entering and remaining in the United
States Capitol without authority and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, ALEXANDER
SHEPPARD did unlawfully and knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President and Vice President-elect were temporarily visiting,
without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, ALEXANDER
SHEPPARD did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, ALEXANDER
SHEPPARD willfully and knowingly entered and remained on the floor of a House of Congress
and in any cloakroom and lobby adjacent to that floor, in the Rayburn Room of the House of
Representatives, and in the Marble Room of the Senate, without authorization to do so.

(Entering and Remaining on the Floor of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(A))
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COUNT FIVE
On or about January 6, 2021, within the District of Columbia, ALEXANDER
SHEPPARD willfully and knowingly engaged in disorderly and disruptive conduct in any of the
Capito] Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, ALEXANDER SHEPPARD
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

 

Pisllpr GPR
Attorney 6f the United States in
and for the District of Columbia.
